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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

Case No. 6:18-'01<-04148-€€]
In re:
RlCHARD JOHN LORENZ, JR.,
Debtoi'.
/

 

AMENDMENT TO SCHEDULES B , C. F AND
STATEMENT OF FINANCIAL AFFAIRS

COMES NOW the Debtor, RICHARD JOHN LORENZ, JR, by and through his
undersigned attorneys, and tiles this its Arnendment to Schedules B, C, F and Statement; of
Financial Affairs and in So doing states as follows:

SCHEDULE B - PROPERTY is amended to add and amend the following

3. Cars, vans, trucks, tractors, sport utility vehiclesr motorcycles

    
   
 

_ C d.“ WhO has an imF-‘FBSt in the P"°Pe"ly? Ch€=k Do not deduct secured claims or exemptions Put the amount
3'1 Make' _?_'lc-__-__ ‘"“’ of any secured c!aims on Schedr.lle D.' Credl`tors Who Have
Model: CTS § Debtor 1 only Clar`ms Secured by Property.

Year: loo_s'__'__'_ m Debwf 2 cnw Current value of the entire Current value of the

Approximate mileage: 50,000 l:] Deblor1 and Debtor 2 only propeny? portion you own?

Other information: I:\ At least one of the debtors and another

Location: 35119 Huff

Road» EUStiS FL 32725 m Check if this is community property $5,000_00 $5,000_00

(see instructions}

 

 

    
   
 

C d-“ WhO has an l“te\’e$f irl the 'PWPE\‘W? Ch€¢k Do not deduct secured claims or exemptions Putthe amount
32 Make: _.l'_gc_-__- °"e of any secured claims on Schedule D: Creditors Who Have
Nlodel: XTS Debtor 1 only Clal'ms Secured by .Propeify.

vear: _Z-Lel_'____'_ m Debtor 2 only Current value of the entire Current value of the

Approximate mileage; 45,000 m Debtor 1 and Debtor2 only proper;y? portion you owo?

Olher information l:| At least one of the debtors and another

Location: 35119 Huff

Road, Eusfis FL 32726 l:\ Check if this is community property $15,000.00 $15,000.00

{see ins|mctions)

17. Deposits of money

|nstitution name:

First Green Bank, 18251 US Highway 441, Mt.
17.2, Checking Dora, FL 32757 - Account ending in xxx'lu?€ $13,961.05

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19. Non-pub|ic|y traded stock and interests in incorporated and

LLC, partnership, and joint venture
Name of entity:

Centra| Environmenta| Services, |nc. 100% stock

% of ownership:

100 %

unincorporated businesses, including an interest in an

$0.00

 

SCHEDULE C - THE PROPERTY YOU CLAIM AS EXEMPT is amended to add,

delete and amend the following

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Current value of the
portion you own

Erief description of the property and line on
Sched_ule A/B that lists this property

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption

>'A ss,ooo.oo

 

l:l 100% of fair market value, up to
any applicable statutory limit

 

 

El $13,961.05

 

Schedule A/B
2008 Cadillac CTS 60,000 miles
Locarron: 35119 Hurf Road, Eustis Fl_ $5.000.00
32726
Line from Scheo‘ule A/B: 3.1
Checking: First Green Barrk, 18251
US Highway 441, Mt. Dora, FL 32757 $13,961-05
Line from Scheo‘u!e A/B: 17.2
Central Environmenta| Services, lnc.
100% stock $0.00

l:l 100% affair market value, up to
any applicable statutory limit

>X< 100%

 

Line from Scheo‘ule A/B: 19.1

l:l 100% of fair market value, up to
any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment orr 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

-No

Specitic laws that allow
exemption

Fla. Stat. Ann. § 222.25(1)
§ 222.25(4)

11 U.S.C. § 522{d)(10)(A)

Fla. stat Ann. § 222.25¢1)

l:| Ves. Did you acquire the property covered by the exemption within 1.215 days before you med this case'?

El No
[:| Yes

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SCHEDULE F - CREDITORS WHO HAVE UNSECURED CLAIMS is amended

 

 

 

to add the following:
Keith KUZt'let' Last 4 digits of account number $1,300.00
Nonpriority Creditor's Name
8815 Conroy-Wrndemere Rd. when was the cent incurree?
#106
Orlando, FL 32835
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Checi< one.
§ Debtor 1 only l:l Contingent
l:] Debtor 2 only l:l Uniiquidated
l:l Debtor ‘l and Debtor 2 only |:l Disputed
l:l At least one of the debtors and another Type °f NONPR|ORITY unsecured clalm:
l:| Check if this claim is for a community |-_-\ Studem loans
debt |:| Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
g No |:| Debts to pension or profit-sharing plans, and other similar debts

Other. _

l:] yes specify Accountrng Fees

 

STATEMENT OF FINANCIAL AFFAIRS is amended to add the following:

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorcesl collection suitsl paternity actions, support or
custody modificationsl and contract disputes

|:l No

 

>!4 Yes. Firi in ihe details

Casa title Nature of the case Court or agency Status of the case
Case number

PNC Equipment Finance, LLC vs. Civil Circuit Court, Orange }14 sending
Centra! Environmental Services, County |:\ On appeal
lnc. and Richard Lorenz 425 N. Orange Avenue E Concluded
2017-CA-10897-0 Orlando, FL 32801

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

l:l No
Yes_ Fiii iri the details for each giii.
Gitts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
per person the gifts
Person to Whom You Gave the Gift and
Address:
Sky|a Ray Stefan $2000 to education trust for June 2, 2018 $2,000.00

granddaughter

Person's relationship to you: Granddaughter

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l, RlCl-IARD J()HN LORENZ, IR, as Debtor in this case, declare under penalty of
perjmy that l have read the foregoing Amendments, and it is true and correct to the best of my

knowledge information and belief

site 'Ocr 09_`2013 '

By: ruan Jor-iN rson
IHEREBY CERTIFY that a true and correct cop of this Amendrnent reduies B, C, F

and Statemerit of F`inanoiai Affairs have been furnished by U.S. Mail to all creditors on the attached

/., ./;i,,/ .

creditor matrix on this day of l / ,2018.

 

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